&lt;div data-spec-version="0.0.3dev" data-generated-on="2024-06-02"&gt;
 &lt;div class="generated-from-iceberg vlex-toc"&gt;
 &lt;link href="https://doc-stylesheets.vlex.com/ldml-xml.css" rel="stylesheet" type="text/css"&gt;&lt;/link&gt;
 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/913388779" data-vids="913388779" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;513 P.3d 413&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Matthew S. PARK, #31715&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;,&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;v.&lt;/b&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The PEOPLE of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;Case Number: 21PDJ082&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;Office of Presiding Disciplinary Judge of the Supreme Court of Colorado.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;April 14, 2022&lt;/b&gt;&lt;/span&gt;&lt;span class="ldml-pagenumber" data-id="pagenumber_205" data-page_type="bracketed_cite" data-rep="P.3d" data-val="414" data-vol="513"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;h2 class="ldml-opinionheading content__heading content__heading--depth1" data-content-heading-label="Opinion (WILLIAM R. LUCERO)"&gt;&lt;span data-paragraph-id="205" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="205" data-sentence-id="206" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-refname"&gt;OPINION AND DECISION DENYING REINSTATEMENT UNDER&lt;/span&gt; &lt;span class="ldml-cite"&gt;C.R.C.P. 251.29&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;&lt;/span&gt;&lt;/b&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/h2&gt;&lt;p data-paragraph-id="273" class="ldml-paragraph no-indent mt-4"&gt;&lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="273" data-sentence-id="273" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;WILLIAM R. LUCERO&lt;/span&gt;&lt;/span&gt;, PRESIDING DISCIPLINARY JUDGE&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="320" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="320" data-sentence-id="320" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Matthew S. Park&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-localname"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt; seeks reinstatement of his law license after &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was suspended from the practice of law for one year and one day, with three months to be served and the rest stayed upon a two-year probation.&lt;/span&gt; &lt;span data-paragraph-id="320" data-sentence-id="542" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; did not reinstate by affidavit after completing the three-month served portion of his suspension.&lt;/span&gt; &lt;span data-paragraph-id="320" data-sentence-id="655" class="ldml-sentence"&gt;Instead, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has remained suspended from the practice of law since &lt;span class="ldml-entity"&gt;October 2020&lt;/span&gt;, which necessitated that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; &lt;span class="ldml-entity"&gt;petition to reinstate&lt;/span&gt; his law license.&lt;/span&gt; &lt;span data-paragraph-id="320" data-sentence-id="801" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; has failed to prove by clear and convincing evidence that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is fit to practice law, that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has complied with all disciplinary rules and orders, and that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has been rehabilitated from his underlying misconduct.&lt;/span&gt; &lt;span data-paragraph-id="320" data-sentence-id="1025" class="ldml-sentence"&gt;As such, his &lt;span class="ldml-entity"&gt;petition for reinstatement&lt;/span&gt; must be denied.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_1080" data-content-heading-label="I. PROCEDURAL HISTORY " data-parsed="true" data-ordinal_end="1" data-format="upper_case_roman_numeral" data-specifier="I" data-confidences="very_high" data-types="background" data-value="I. PROCEDURAL HISTORY" id="heading_1080" data-ordinal_start="1"&gt;&lt;span data-paragraph-id="1080" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="1080" data-sentence-id="1080" class="ldml-sentence"&gt;I.&lt;/span&gt; &lt;span data-paragraph-id="1080" data-sentence-id="1083" class="ldml-sentence"&gt;&lt;span class="ldml-underline"&gt;PROCEDURAL HISTORY&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="1102" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="1102" data-sentence-id="1102" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;September 4, 2020&lt;/span&gt;, a hearing board issued an &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Opinion and Decision Imposing Sanctions Under&lt;/span&gt; &lt;span class="ldml-cite"&gt;C.R.C.P. 251.19&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;"&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1102"&gt;&lt;span class="ldml-cite"&gt;case number 19PDJ057&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, suspending &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s law license for one year and one day, with three months served and the rest stayed upon a two-year period of probation.&lt;a href="#note-fr1" class="ldml-noteanchor" id="note-ref-fr1"&gt;1&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="1102" data-sentence-id="1386" class="ldml-sentence"&gt;The conditions of his probation included his attendance at ethics and trust account schools and, if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; practiced law during his period of probation, his participation in quarterly meetings with a financial monitor.&lt;/span&gt; &lt;span data-paragraph-id="1102" data-sentence-id="1601" class="ldml-sentence"&gt;Under the terms of his discipline, &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s suspension took effect on &lt;span class="ldml-entity"&gt;October 27, 2020&lt;/span&gt;,&lt;a href="#note-fr2" class="ldml-noteanchor" id="note-ref-fr2"&gt;2&lt;/a&gt; making him eligible on &lt;span class="ldml-entity"&gt;January 27, 2021&lt;/span&gt;, to seek reinstatement by affidavit under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 251.29&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1102" data-sentence-id="1795" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; never took the necessary steps to be reinstated by affidavit and &lt;span class="ldml-pagenumber" data-id="pagenumber_1871" data-page_type="bracketed_cite" data-rep="P.3d" data-val="415" data-vol="513"&gt;&lt;/span&gt; placed on probation, however.&lt;/span&gt; &lt;span data-paragraph-id="1102" data-sentence-id="1902" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; has thus remained suspended since &lt;span class="ldml-entity"&gt;October 2020&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1952" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="1952" data-sentence-id="1952" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;November 11, 2021&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; filed with Presiding Disciplinary Judge &lt;span class="ldml-entity"&gt;William R. Lucero&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"the PDJ"&lt;/span&gt;)&lt;/span&gt; a &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;Petition for Reinstatement&lt;/span&gt;"&lt;/span&gt; under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 251.29&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;a href="#note-fr3" class="ldml-noteanchor" id="note-ref-fr3"&gt;3&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="1952" data-sentence-id="2112" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Michele Melnick&lt;/span&gt;, on behalf of the &lt;span class="ldml-entity"&gt;Office of Attorney Regulation &lt;span class="ldml-entity"&gt;Counsel&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;the People&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;, answered on &lt;span class="ldml-entity"&gt;November 23, 2021&lt;/span&gt;.&lt;a href="#note-fr4" class="ldml-noteanchor" id="note-ref-fr4"&gt;4&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="1952" data-sentence-id="2231" class="ldml-sentence"&gt;The PDJ set the matter for a reinstatement hearing and directed &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; to submit hearing briefs no later than &lt;span class="ldml-entity"&gt;February 17, 2022&lt;/span&gt;.&lt;a href="#note-fr5" class="ldml-noteanchor" id="note-ref-fr5"&gt;5&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="1952" data-sentence-id="2365" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; did not file his brief until &lt;span class="ldml-entity"&gt;March 2, 2022&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="2419" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="2419" data-sentence-id="2419" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;March 3, 2022&lt;/span&gt;, the PDJ presided over &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s reinstatement hearing, held via the Zoom videoconferencing platform.&lt;/span&gt; &lt;span data-paragraph-id="2419" data-sentence-id="2541" class="ldml-sentence"&gt;The PDJ was joined on the &lt;span class="ldml-entity"&gt;Hearing Board&lt;/span&gt; by lawyer &lt;span class="ldml-entity"&gt;Steven Meyrich&lt;/span&gt; and &lt;span class="ldml-entity"&gt;Dr. Robert Munson&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2419" data-sentence-id="2629" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; appeared pro se and Melnick represented &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2419" data-sentence-id="2692" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;Hearing Board&lt;/span&gt; considered testimony from &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s investigator &lt;span class="ldml-entity"&gt;Matthew Gill&lt;/span&gt;, who testified as an advisory witness.&lt;/span&gt; &lt;span data-paragraph-id="2419" data-sentence-id="2829" class="ldml-sentence"&gt;The PDJ admitted into evidence stipulated exhibits S1-S7 as well as &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s exhibit A.&lt;/span&gt; &lt;span data-paragraph-id="2419" data-sentence-id="2921" class="ldml-sentence"&gt;The PDJ also accepted &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;’ ten stipulated facts.&lt;/span&gt; &lt;span data-paragraph-id="2419" data-sentence-id="2978" class="ldml-sentence"&gt;In addition, the PDJ accepted &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s untimely filed hearing brief.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_3050" data-content-heading-label="II. FINDINGS OF FACT " data-parsed="true" data-ordinal_end="2" data-format="upper_case_roman_numeral" data-specifier="II" data-confidences="high" data-types="findings" data-value="II. FINDINGS OF FACT" id="heading_3050" data-ordinal_start="2"&gt;&lt;span data-paragraph-id="3050" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="3050" data-sentence-id="3050" class="ldml-sentence"&gt;II.&lt;/span&gt; &lt;span data-paragraph-id="3050" data-sentence-id="3054" class="ldml-sentence"&gt;&lt;span class="ldml-underline"&gt;FINDINGS OF FACT&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="3071" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="3071" data-sentence-id="3071" class="ldml-sentence"&gt;The findings of fact here are drawn from testimony offered at the reinstatement hearing, where not otherwise noted.&lt;/span&gt; &lt;span data-paragraph-id="3071" data-sentence-id="3187" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; was admitted to practice law in Colorado on &lt;span class="ldml-entity"&gt;May 11, 2000&lt;/span&gt;, under attorney registration &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3187"&gt;&lt;span class="ldml-cite"&gt;number 31715&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;a href="#note-fr6" class="ldml-noteanchor" id="note-ref-fr6"&gt;6&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="3071" data-sentence-id="3298" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; is thus subject to the jurisdiction of the &lt;span class="ldml-entity"&gt;Colorado Supreme Court&lt;/span&gt; and the &lt;span class="ldml-entity"&gt;Hearing Board&lt;/span&gt; in this reinstatement proceeding.&lt;a href="#note-fr7" class="ldml-noteanchor" id="note-ref-fr7"&gt;7&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-id="heading_3423" data-content-heading-label="Petitioner's Background and Disciplinary History" data-parsed="true" data-format="title_case_lacks_specifier_italics" data-specifier="" data-confidences="medium" data-types="background" data-value="Petitioner's Background and Disciplinary History" id="heading_3423"&gt;&lt;span data-paragraph-id="3423" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="3423" data-sentence-id="3423" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s Background and Disciplinary History&lt;/b&gt;&lt;/span&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="3471" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="3471" data-sentence-id="3471" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; completed law school at the University of &lt;span class="ldml-entity"&gt;Denver Sturm&lt;/span&gt; College of Law, earning his degree in &lt;span class="ldml-entity"&gt;2000&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3471" data-sentence-id="3581" class="ldml-sentence"&gt;After &lt;span class="ldml-entity"&gt;he&lt;/span&gt; graduated, his law practice focused on administrative law and filing paperwork with various government agencies.&lt;/span&gt; &lt;span data-paragraph-id="3471" data-sentence-id="3703" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had no experience with litigation or &lt;span class="ldml-entity"&gt;court&lt;/span&gt; procedures and never &lt;span class="ldml-quotation quote"&gt;"set foot"&lt;/span&gt; in a courtroom.&lt;/span&gt; &lt;span data-paragraph-id="3471" data-sentence-id="3823" class="ldml-sentence"&gt;As such, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; admits &lt;span class="ldml-entity"&gt;he&lt;/span&gt; does not have a firm grasp of procedural deadlines or prehearing requirements.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="3923" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="3923" data-sentence-id="3923" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; was administratively suspended from the practice of law in &lt;span class="ldml-entity"&gt;2013&lt;/span&gt; because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not comply with Colorado's continuing legal education &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"CLE"&lt;/span&gt;)&lt;/span&gt; requirements and did not pay his attorney registration fees.&lt;a href="#note-fr8" class="ldml-noteanchor" id="note-ref-fr8"&gt;8&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="3923" data-sentence-id="4136" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; was again administratively suspended on &lt;span class="ldml-entity"&gt;May 1, 2015&lt;/span&gt;, after &lt;span class="ldml-entity"&gt;he&lt;/span&gt; failed to pay his attorney registration fees for &lt;span class="ldml-entity"&gt;2015&lt;/span&gt;.&lt;a href="#note-fr9" class="ldml-noteanchor" id="note-ref-fr9"&gt;9&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="3923" data-sentence-id="4256" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; was not reinstated from that suspension until &lt;span class="ldml-entity"&gt;January 31, 2019&lt;/span&gt;.&lt;a href="#note-fr10" class="ldml-noteanchor" id="note-ref-fr10"&gt;10&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;p data-paragraph-id="4323" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="4323" data-sentence-id="4323" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; has been formally disciplined twice.&lt;/span&gt; &lt;span data-paragraph-id="4323" data-sentence-id="4371" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;December 2003&lt;/span&gt;, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; stipulated to a suspension of ninety days, all stayed upon the completion of a two-year period of probation.&lt;a href="#note-fr11" class="ldml-noteanchor" id="note-ref-fr11"&gt;11&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="4323" data-sentence-id="4501" class="ldml-sentence"&gt;That discipline was premised on his failure to supervise nonlawyer staff who had drafted and delivered legal documents in a client matter.&lt;a href="#note-fr12" class="ldml-noteanchor" id="note-ref-fr12"&gt;12&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="4323" data-sentence-id="4640" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; also failed to maintain sufficient trust account records and commingled client funds with his own funds.&lt;a href="#note-fr13" class="ldml-noteanchor" id="note-ref-fr13"&gt;13&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="4323" data-sentence-id="4748" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; successfully completed the terms of the two-year probation.&lt;a href="#note-fr14" class="ldml-noteanchor" id="note-ref-fr14"&gt;14&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="4323" data-sentence-id="4811" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; testified at this reinstatement hearing that because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was represented by a lawyer in that disciplinary matter, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not learn the PDJ's rules and procedures and relied on his lawyer to meet all the required deadlines.&lt;span class="ldml-pagenumber" data-id="pagenumber_5035" data-page_type="bracketed_cite" data-rep="P.3d" data-val="416" data-vol="513"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="5035" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="5035" data-sentence-id="5036" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;September 4, 2020&lt;/span&gt;, a hearing board imposed the suspension from which &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; now seeks to reinstate.&lt;a href="#note-fr15" class="ldml-noteanchor" id="note-ref-fr15"&gt;15&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="5035" data-sentence-id="5143" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; defended &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; pro se because, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; said, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not have the financial resources to hire a lawyer.&lt;/span&gt; &lt;span data-paragraph-id="5035" data-sentence-id="5255" class="ldml-sentence"&gt;In that matter, the hearing board found that &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; had accepted two personal injury &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; during his administrative suspension, thereby contravening &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Colo. RPC 3.4&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Colo. RPC 5.5&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;a href="#note-fr16" class="ldml-noteanchor" id="note-ref-fr16"&gt;16&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="5035" data-sentence-id="5451" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; then settled the personal injury matters and deposited the settlement funds directly into his operating account, commingling his client's and a third &lt;span class="ldml-entity"&gt;party&lt;/span&gt;'s funds with his own funds in violation of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Colo. RPC 1.15A&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;a href="#note-fr17" class="ldml-noteanchor" id="note-ref-fr17"&gt;17&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;p data-paragraph-id="5673" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="5673" data-sentence-id="5673" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; was ordered to pay the costs of his &lt;span class="ldml-entity"&gt;2019&lt;/span&gt; disciplinary case by &lt;span class="ldml-entity"&gt;September 18, 2020&lt;/span&gt;, but &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not pay them until &lt;span class="ldml-entity"&gt;March 24, 2021&lt;/span&gt;.&lt;/span&gt;&lt;span data-paragraph-id="5673" data-sentence-id="5811" class="ldml-sentence"&gt;18 &lt;span class="ldml-entity"&gt;He&lt;/span&gt; acknowledged that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had received a copy of the disciplinary opinion, which set forth certain deadlines.&lt;/span&gt; &lt;span data-paragraph-id="5673" data-sentence-id="5922" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; explained during the reinstatement hearing that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not forget or neglect to pay the costs but rather lacked the funds to timely pay.&lt;/span&gt; &lt;span data-paragraph-id="5673" data-sentence-id="6062" class="ldml-sentence"&gt;At the time the costs became due, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; said, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had significant housing and food expenses, but once &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had available funds &lt;span class="ldml-entity"&gt;he&lt;/span&gt; promptly paid the costs.&lt;/span&gt; &lt;span data-paragraph-id="5673" data-sentence-id="6211" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; said that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; provided Gill with documentation evidencing his financial hardship, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not seek to introduce the documents during this reinstatement hearing.&lt;/span&gt; &lt;span data-paragraph-id="5673" data-sentence-id="6390" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; explained that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had assumed that his financial records would automatically be admitted into evidence at the hearing.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="6511" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="6511" data-sentence-id="6511" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;October 27, 2020&lt;/span&gt;, the PDJ issued an &lt;span class="ldml-quotation quote"&gt;"Order and Notice of Suspension,"&lt;/span&gt; making &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s three-month served suspension effective that day.&lt;a href="#note-fr19" class="ldml-noteanchor" id="note-ref-fr19"&gt;19&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="6511" data-sentence-id="6654" class="ldml-sentence"&gt;According to &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; received a copy of the order.&lt;/span&gt; &lt;span data-paragraph-id="6511" data-sentence-id="6712" class="ldml-sentence"&gt;The order directed him to comply with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 251.28&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which required him to file an affidavit with the PDJ within fourteen days setting forth his pending matters and attesting that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had notified both his clients and all jurisdictions where &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was licensed of his suspension.&lt;a href="#note-fr20" class="ldml-noteanchor" id="note-ref-fr20"&gt;20&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="6511" data-sentence-id="6993" class="ldml-sentence"&gt;The affidavit was due by &lt;span class="ldml-entity"&gt;November 10, 2020&lt;/span&gt;, but &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; did not file it until &lt;span class="ldml-entity"&gt;April 28, 2021&lt;/span&gt;.&lt;a href="#note-fr21" class="ldml-noteanchor" id="note-ref-fr21"&gt;21&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="6511" data-sentence-id="7090" class="ldml-sentence"&gt;According to &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not ignore the PDJ's orders but rather attempted to timely file documents in his disciplinary case.&lt;/span&gt; &lt;span data-paragraph-id="6511" data-sentence-id="7222" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; did not understand the disciplinary procedures, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; explained, because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was generally unfamiliar with litigation deadlines and &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not have &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; to guide him.&lt;/span&gt; &lt;span data-paragraph-id="6511" data-sentence-id="7391" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; also stated that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could not find online resources so that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could learn the rules, and &lt;span class="ldml-entity"&gt;he&lt;/span&gt; averred that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; did not help him when &lt;span class="ldml-entity"&gt;he&lt;/span&gt; sought guidance.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-format="title_case_lacks_specifier_italics" data-content-heading-label="Events Since Petitioner's Suspension" data-parsed="true" data-specifier="" data-id="heading_7552" data-value="Events Since Petitioner's Suspension" id="heading_7552"&gt;&lt;span data-paragraph-id="7552" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="7552" data-sentence-id="7552" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;Events Since &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s Suspension&lt;/b&gt;&lt;/span&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="7588" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="7588" data-sentence-id="7588" class="ldml-sentence"&gt;As discussed above, &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; was eligible in his &lt;span class="ldml-entity"&gt;2019&lt;/span&gt; disciplinary matter to seek reinstatement by affidavit under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 251.29&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and to begin his two-year probationary period in &lt;span class="ldml-entity"&gt;January 2021&lt;/span&gt;.&lt;a href="#note-fr22" class="ldml-noteanchor" id="note-ref-fr22"&gt;22&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="7588" data-sentence-id="7787" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;he&lt;/span&gt; never reinstated by affidavit and was never placed on probation.&lt;/span&gt; &lt;span data-paragraph-id="7588" data-sentence-id="7859" class="ldml-sentence"&gt;Instead, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has remained suspended since &lt;span class="ldml-entity"&gt;October 27, 2020&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="7917" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="7917" data-sentence-id="7917" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; spent time during his suspension volunteering, working, and completing his CLE requirements.&lt;/span&gt; &lt;span data-paragraph-id="7917" data-sentence-id="8039" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; said that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; spent many hours volunteering at the Korean Presbyterian Church, and &lt;span class="ldml-entity"&gt;he&lt;/span&gt; explained that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; assisted the church to set up its nonprofit status, much like a paralegal would.&lt;/span&gt; &lt;span data-paragraph-id="7917" data-sentence-id="8226" class="ldml-sentence"&gt;Gill testified, however, that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not receive much information from &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; about these volunteer efforts, save for &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s own recounting and an email from Reverend &lt;span class="ldml-entity"&gt;Young Woo&lt;/span&gt;, who noted that &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s volunteer work involved assisting him with a pension fund.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="8500" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="8500" data-sentence-id="8500" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; also testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; works at machinemon.com, performing front-end website services.&lt;a href="#note-fr23" class="ldml-noteanchor" id="note-ref-fr23"&gt;23&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="8500" data-sentence-id="8598" class="ldml-sentence"&gt;His duties there, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; said, involve maintaining the company's website and &lt;span class="ldml-pagenumber" data-id="pagenumber_8671" data-page_type="bracketed_cite" data-rep="P.3d" data-val="417" data-vol="513"&gt;&lt;/span&gt; developing its interface.&lt;/span&gt; &lt;span data-paragraph-id="8500" data-sentence-id="8698" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; stated that although &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is underemployed at machinemon.com, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has been unable to secure more gainful employment and thus continues to experience financial difficulties.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="8870" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="8870" data-sentence-id="8870" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; declared that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; completed his CLE requirements while &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was suspended.&lt;a href="#note-fr24" class="ldml-noteanchor" id="note-ref-fr24"&gt;24&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="8870" data-sentence-id="8962" class="ldml-sentence"&gt;Gill testified, however, that &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; completed forty-one of the forty-six CLE credits after filing his &lt;span class="ldml-entity"&gt;petition for reinstatement&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8870" data-sentence-id="9097" class="ldml-sentence"&gt;Gill also observed that none of the CLE courses that &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; completed pertain to money management, trust account management, or the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9097"&gt;&lt;span class="ldml-cite"&gt;Rules of Professional Conduct&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="9263" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="9263" data-sentence-id="9263" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; did not complete any conditions of his probation while &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was suspended.&lt;/span&gt; &lt;span data-paragraph-id="9263" data-sentence-id="9347" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; testified that initially &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not consider attending &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s trust and ethics schools during his suspension because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; believed that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; needed to be on probation to take those courses.&lt;/span&gt; &lt;span data-paragraph-id="9263" data-sentence-id="9542" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; also said that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could not have afforded to travel from Texas to Colorado to attend the classes.&lt;/span&gt; &lt;span data-paragraph-id="9263" data-sentence-id="9643" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; eventually concluded, however, that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; should take the courses even though &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had not been placed on probation.&lt;/span&gt; &lt;span data-paragraph-id="9263" data-sentence-id="9758" class="ldml-sentence"&gt;Accordingly, on &lt;span class="ldml-entity"&gt;February 13, 2022&lt;/span&gt;—a little over two weeks before the hearing—&lt;span class="ldml-entity"&gt;he&lt;/span&gt; called &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; to inquire about attending their trust account class remotely.&lt;/span&gt; &lt;span data-paragraph-id="9263" data-sentence-id="9919" class="ldml-sentence"&gt;The next day, &lt;span class="ldml-entity"&gt;Nicolette Chavez&lt;/span&gt; of the &lt;span class="ldml-entity"&gt;Office of Attorney Regulation &lt;span class="ldml-entity"&gt;Counsel&lt;/span&gt;&lt;/span&gt; replied by email, informing him that except for one course scheduled for &lt;span class="ldml-entity"&gt;December 2022&lt;/span&gt;, the classes were offered only in person.&lt;a href="#note-fr25" class="ldml-noteanchor" id="note-ref-fr25"&gt;25&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="9263" data-sentence-id="10124" class="ldml-sentence"&gt;At the hearing, Gill added that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s trust and ethics schools had been offered remotely from &lt;span class="ldml-entity"&gt;July 2020&lt;/span&gt; until &lt;span class="ldml-entity"&gt;November 2021&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="10255" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="10255" data-sentence-id="10255" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;December 2020&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; moved to Texas.&lt;/span&gt; &lt;span data-paragraph-id="10255" data-sentence-id="10300" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; still has a Colorado residence, but &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has no intention of returning to live here.&lt;/span&gt; &lt;span data-paragraph-id="10255" data-sentence-id="10386" class="ldml-sentence"&gt;Nor does &lt;span class="ldml-entity"&gt;he&lt;/span&gt; want to be employed as a lawyer in the traditional sense.&lt;/span&gt; &lt;span data-paragraph-id="10255" data-sentence-id="10456" class="ldml-sentence"&gt;Rather, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; plans to seek employment as a document reviewer.&lt;/span&gt; &lt;span data-paragraph-id="10255" data-sentence-id="10516" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; thinks &lt;span class="ldml-entity"&gt;he&lt;/span&gt; can make more money doing that work if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is a licensed lawyer.&lt;/span&gt; &lt;span data-paragraph-id="10255" data-sentence-id="10593" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; vowed to limit his future professional pursuits to document review to protect the public.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-format="title_case_lacks_specifier_italics" data-content-heading-label="Petitioner's Reflections on His Misconduct" data-parsed="true" data-specifier="" data-id="heading_10685" data-value="Petitioner's Reflections on His Misconduct" id="heading_10685"&gt;&lt;span data-paragraph-id="10685" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="10685" data-sentence-id="10685" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s Reflections on His Misconduct&lt;/b&gt;&lt;/span&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="10727" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="10727" data-sentence-id="10727" class="ldml-sentence"&gt;According to &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;, financial hardship is at the root of his misconduct.&lt;/span&gt; &lt;span data-paragraph-id="10727" data-sentence-id="10805" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; explained that a lack of funds prevented him from paying his attorney registration fees, resulting in the administrative suspension of his law license from &lt;span class="ldml-entity"&gt;2015&lt;/span&gt; to &lt;span class="ldml-entity"&gt;2019&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10727" data-sentence-id="10978" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; testified that for &lt;span class="ldml-quotation quote"&gt;"many, many years"&lt;/span&gt; following a car accident &lt;span class="ldml-entity"&gt;he&lt;/span&gt; suffered from injuries and post-traumatic stress disorder, which prevented him from working and making a living.&lt;a href="#note-fr26" class="ldml-noteanchor" id="note-ref-fr26"&gt;26&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="10727" data-sentence-id="11160" class="ldml-sentence"&gt;His house was foreclosed on during this time, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; said.&lt;/span&gt; &lt;span data-paragraph-id="10727" data-sentence-id="11215" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;he&lt;/span&gt; paid his attorney registration fees in &lt;span class="ldml-entity"&gt;2019&lt;/span&gt;, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has been unable to meet that obligation since then, as the loss of his law license created a cycle of financial difficulties.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="11418" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="11418" data-sentence-id="11418" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; maintained that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; inadvertently engaged in the unauthorized practice of law because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could not pay his attorney registration fees and was unaware of the resulting administrative suspension.&lt;/span&gt; &lt;span data-paragraph-id="11418" data-sentence-id="11622" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; also explained that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; commingled funds only because his trust account had been inactive.&lt;/span&gt; &lt;span data-paragraph-id="11418" data-sentence-id="11715" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has since attempted to adhere to Colorado's trust account standards; just two days before the hearing, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; said, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; received notice from his bank that his trust account was again inactive, so &lt;span class="ldml-entity"&gt;he&lt;/span&gt; called the bank and promptly reactivated it.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="11974" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="11974" data-sentence-id="11974" class="ldml-sentence"&gt;At the hearing, &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; acknowledged that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; took the two personal injury &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; that led to his &lt;span class="ldml-entity"&gt;2019&lt;/span&gt; disciplinary matter even though &lt;span class="ldml-entity"&gt;he&lt;/span&gt; lacked litigation experience.&lt;a href="#note-fr27" class="ldml-noteanchor" id="note-ref-fr27"&gt;27&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="11974" data-sentence-id="12143" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; explained that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; considered &lt;span class="ldml-entity"&gt;those cases&lt;/span&gt; to be insurance &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; that would lead to quick &lt;span class="ldml-pagenumber" data-id="pagenumber_12234" data-page_type="bracketed_cite" data-rep="P.3d" data-val="418" data-vol="513"&gt;&lt;/span&gt; settlement offers from insurers and thus were &lt;span class="ldml-quotation quote"&gt;"not &lt;span class="ldml-entity"&gt;court&lt;/span&gt; work."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11974" data-sentence-id="12299" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; maintained that e-filing complaints in those matters did not require an understanding of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;court&lt;/span&gt; rules&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="12403" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="12403" data-sentence-id="12403" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; takes responsibility for his misconduct and that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is remorseful that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not follow the rules.&lt;/span&gt; &lt;span data-paragraph-id="12403" data-sentence-id="12541" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; stated that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; respects the PDJ and &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; but feels penalized for his financial situation.&lt;/span&gt; &lt;span data-paragraph-id="12403" data-sentence-id="12640" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; failed to meet deadlines and does not understand the rules because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could not afford to hire a lawyer, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; said.&lt;/span&gt; &lt;span data-paragraph-id="12403" data-sentence-id="12757" class="ldml-sentence"&gt;Even so, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; declares that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; harbors no bitterness toward the disciplinary system.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_12839" data-content-heading-label="III. LEGAL ANALYSIS " data-parsed="true" data-ordinal_end="3" data-format="upper_case_roman_numeral" data-specifier="III" data-confidences="very_high" data-types="analysis" data-value="III. LEGAL ANALYSIS" id="heading_12839" data-ordinal_start="3"&gt;&lt;span data-paragraph-id="12839" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="12839" data-sentence-id="12839" class="ldml-sentence"&gt;III.&lt;/span&gt; &lt;span data-paragraph-id="12839" data-sentence-id="12844" class="ldml-sentence"&gt;&lt;span class="ldml-underline"&gt;LEGAL ANALYSIS&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="12859" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="12859" data-sentence-id="12859" class="ldml-sentence"&gt;To be reinstated to practice law in Colorado under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 251.29&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, a lawyer must prove by clear and convincing evidence that the lawyer has complied with applicable disciplinary orders and rules, is fit to practice law, and has been rehabilitated.&lt;a href="#note-fr28" class="ldml-noteanchor" id="note-ref-fr28"&gt;28&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="12859" data-sentence-id="13111" class="ldml-sentence"&gt;Reinstatement signifies that the lawyer possesses all of the qualifications required of applicants admitted to practice law in Colorado.&lt;a href="#note-fr29" class="ldml-noteanchor" id="note-ref-fr29"&gt;29&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-format="title_case_lacks_specifier_italics" data-content-heading-label="Compliance with Disciplinary Orders and Rules" data-parsed="true" data-specifier="" data-id="heading_13248" data-value="Compliance with Disciplinary Orders and Rules" id="heading_13248"&gt;&lt;span data-paragraph-id="13248" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="13248" data-sentence-id="13248" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;Compliance with Disciplinary Orders and Rules&lt;/b&gt;&lt;/span&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="13293" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13293" data-sentence-id="13294" class="ldml-sentence"&gt;Under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 251.29&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, a lawyer petitioning for reinstatement must show compliance with all disciplinary orders and rules.&lt;/span&gt; &lt;span data-paragraph-id="13293" data-sentence-id="13423" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; contends that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has complied, albeit in an untimely manner, with all provisions of the &lt;span class="ldml-entity"&gt;September 2020&lt;/span&gt; disciplinary opinion, his &lt;span class="ldml-entity"&gt;October 2020&lt;/span&gt; order of suspension, and the rules governing suspended lawyers.&lt;/span&gt; &lt;span data-paragraph-id="13293" data-sentence-id="13640" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; also reasons that his belated effort to pay the costs of his &lt;span class="ldml-entity"&gt;2019&lt;/span&gt; disciplinary case demonstrates his willingness to comply with orders.&lt;/span&gt; &lt;span data-paragraph-id="13293" data-sentence-id="13779" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; assert that &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; has failed to obey orders and has not complied with the disciplinary rules during his suspension.&lt;/span&gt; &lt;span data-paragraph-id="13293" data-sentence-id="13911" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;Hearing Board&lt;/span&gt; agrees with &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="13952" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="13952" data-sentence-id="13952" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; was required to pay the costs of the underlying disciplinary proceeding by &lt;span class="ldml-entity"&gt;November 2020&lt;/span&gt; but did not do so until &lt;span class="ldml-entity"&gt;March 2021&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13952" data-sentence-id="14088" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; did not seek a payment plan or an extension of time to pay in the interim.&lt;/span&gt; &lt;span data-paragraph-id="13952" data-sentence-id="14166" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;he&lt;/span&gt; claimed &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was financially unable to timely pay the costs, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not proffer any evidence at the hearing other than his own testimony to support that claim.&lt;/span&gt; &lt;span data-paragraph-id="13952" data-sentence-id="14336" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; likewise filed his affidavit under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 251.28&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; three months late.&lt;/span&gt; &lt;span data-paragraph-id="13952" data-sentence-id="14412" class="ldml-sentence"&gt;Further, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; never submitted an affidavit under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 251.29&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13952" data-sentence-id="14479" class="ldml-sentence"&gt;Had &lt;span class="ldml-entity"&gt;he&lt;/span&gt; done so, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could have been reinstated and placed on probation without having to &lt;span class="ldml-entity"&gt;petition for reinstatement&lt;/span&gt; at hearing where &lt;span class="ldml-entity"&gt;he&lt;/span&gt; bears the burden of proof.&lt;/span&gt; &lt;span data-paragraph-id="13952" data-sentence-id="14641" class="ldml-sentence"&gt;And in this proceeding &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; neglected to timely file his hearing brief, instead submitting it the day before the hearing.&lt;/span&gt; &lt;span data-paragraph-id="13952" data-sentence-id="14769" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; also ignored the rules governing the admission of exhibits.&lt;/span&gt; &lt;span data-paragraph-id="13952" data-sentence-id="14832" class="ldml-sentence"&gt;Given this overwhelming evidence of &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s failure to comply with deadlines, the &lt;span class="ldml-entity"&gt;Hearing Board&lt;/span&gt; cannot find that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; clearly and convincingly proved that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; followed disciplinary orders and rules following his suspension.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-format="title_case_lacks_specifier_italics" data-content-heading-label="Fitness to Practice Law" data-parsed="true" data-specifier="" data-id="heading_15057" data-value="Fitness to Practice Law" id="heading_15057"&gt;&lt;span data-paragraph-id="15057" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="15057" data-sentence-id="15057" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;Fitness to Practice Law&lt;/b&gt;&lt;/span&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="15080" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15080" data-sentence-id="15081" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; next examine whether &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; is fit to practice law, as measured by whether &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has maintained professional competence during his suspension and whether &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is qualified to resume practicing law if reinstated.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="15294" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="15294" data-sentence-id="15294" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; argues that his efforts to stay current on CLEs and his volunteer work through the Korean Presbyterian Church demonstrate his fitness to practice law and his trustworthiness.&lt;/span&gt; &lt;span data-paragraph-id="15294" data-sentence-id="15480" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; contends that the timing of his CLE credits—the majority of which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; completed after &lt;span class="ldml-entity"&gt;he&lt;/span&gt; filed for reinstatement—should not reflect negatively on his fitness to return to the practice of law.&lt;/span&gt; &lt;span data-paragraph-id="15294" data-sentence-id="15674" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; also maintains that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; proved his fitness to practice by promptly reactivating his trust account.&lt;/span&gt; &lt;span data-paragraph-id="15294" data-sentence-id="15775" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; vows not to practice law as &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had done before but to limit his practice to document review.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="15878" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="15878" data-sentence-id="15878" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; dispute that &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s CLE courses and volunteer work support his fitness to return to the practice of law.&lt;/span&gt; &lt;span data-paragraph-id="15878" data-sentence-id="16000" class="ldml-sentence"&gt;None of his CLEs, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; argue, have any relation to trust account management or professional &lt;span class="ldml-pagenumber" data-id="pagenumber_16092" data-page_type="bracketed_cite" data-rep="P.3d" data-val="419" data-vol="513"&gt;&lt;/span&gt; ethics, and the meager evidence of the nature and substance of his volunteer work was largely limited to his own testimony.&lt;/span&gt; &lt;span data-paragraph-id="15878" data-sentence-id="16217" class="ldml-sentence"&gt;According to &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; thus did not meet his burden on this issue.&lt;/span&gt; &lt;span data-paragraph-id="15878" data-sentence-id="16289" class="ldml-sentence"&gt;In fact, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; argue, his concession that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; does not understand how this proceeding works and his failure to meet prehearing deadlines further support their argument that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is unfit.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="16472" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="16472" data-sentence-id="16472" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;Hearing Board&lt;/span&gt; concludes that &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; has not met his burden of proof to show &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is fit to practice.&lt;/span&gt; &lt;span data-paragraph-id="16472" data-sentence-id="16579" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; completed forty-six CLE credits, none of the courses related to trust accounting or to the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16579"&gt;&lt;span class="ldml-cite"&gt;Rules of Professional Conduct&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; implicated in his misconduct.&lt;/span&gt; &lt;span data-paragraph-id="16472" data-sentence-id="16750" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; earned forty-one of the credits after &lt;span class="ldml-entity"&gt;November 2021&lt;/span&gt;, which suggests that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has not sustained efforts to maintain professional competence but rather has indiscriminately rushed through courses at the eleventh hour.&lt;/span&gt; &lt;span data-paragraph-id="16472" data-sentence-id="16968" class="ldml-sentence"&gt;That &lt;span class="ldml-entity"&gt;he&lt;/span&gt; waited to investigate how to complete &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s trust and ethics schools until mere weeks before his reinstatement hearing further points to his indifference in maintaining his professional fitness.&lt;/span&gt; &lt;span data-paragraph-id="16472" data-sentence-id="17178" class="ldml-sentence"&gt;Had &lt;span class="ldml-entity"&gt;he&lt;/span&gt; undertaken the effort at the beginning of his suspension, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could have completed the classes remotely between &lt;span class="ldml-entity"&gt;October 2020&lt;/span&gt; and &lt;span class="ldml-entity"&gt;November 2021&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16472" data-sentence-id="17328" class="ldml-sentence"&gt;And although &lt;span class="ldml-entity"&gt;he&lt;/span&gt; reactivated his Colorado trust account, that effort does not support a finding that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has a meaningful understanding of his trust account obligations.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="17495" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="17495" data-sentence-id="17495" class="ldml-sentence"&gt;In addition, &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; presented no evidence of his work with the church except his testimony that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; helped to establish its nonprofit status and Gill's limited recollection of Reverend Woo's email.&lt;/span&gt; &lt;span data-paragraph-id="17495" data-sentence-id="17696" class="ldml-sentence"&gt;This testimony does not give &lt;span class="ldml-entity"&gt;us&lt;/span&gt; any comfort that during his suspension &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has developed an understanding of how to manage his trust account or comply with his ethical duties, however.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="17879" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="17879" data-sentence-id="17879" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; are also troubled by &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s willingness to represent clients in personal injury matters despite what &lt;span class="ldml-entity"&gt;he&lt;/span&gt; characterizes as his lack of familiarity with litigation procedures.&lt;a href="#note-fr30" class="ldml-noteanchor" id="note-ref-fr30"&gt;30&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="17879" data-sentence-id="18061" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; took &lt;span class="ldml-entity"&gt;those cases&lt;/span&gt;, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; said, because insurers invariably offer to settle personal injury matters before litigation begins.&lt;/span&gt; &lt;span data-paragraph-id="17879" data-sentence-id="18185" class="ldml-sentence"&gt;This uninformed and incorrect testimony, which &lt;span class="ldml-entity"&gt;we&lt;/span&gt; interpret as suggesting that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was somehow excused from understanding the mechanisms of litigation, is deeply disquieting.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="18358" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="18358" data-sentence-id="18358" class="ldml-sentence"&gt;Likewise, the &lt;span class="ldml-entity"&gt;Hearing Board&lt;/span&gt; finds that the basic legal errors &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; made in his underlying disciplinary case and during this reinstatement proceeding raise significant questions about his fitness to practice.&lt;/span&gt; &lt;span data-paragraph-id="18358" data-sentence-id="18572" class="ldml-sentence"&gt;As an example, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; repeatedly testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; missed deadlines in the underlying disciplinary matter because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was not represented by &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, in contrast to his &lt;span class="ldml-entity"&gt;2003&lt;/span&gt; disciplinary matter.&lt;/span&gt; &lt;span data-paragraph-id="18358" data-sentence-id="18762" class="ldml-sentence"&gt;As such, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; said, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; lacked a basic understanding of how the proceeding worked and thus missed important deadlines, such as filing a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 251.29&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; affidavit.&lt;/span&gt; &lt;span data-paragraph-id="18358" data-sentence-id="18925" class="ldml-sentence"&gt;Likewise, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could not explain, save for his lack of understanding of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;court&lt;/span&gt; rules&lt;/span&gt;, why &lt;span class="ldml-entity"&gt;he&lt;/span&gt; failed to timely file a hearing brief or provide anticipated exhibits to &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; before his reinstatement hearing, as the rules and &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;court&lt;/span&gt; standards&lt;/span&gt; require.&lt;/span&gt; &lt;span data-paragraph-id="18358" data-sentence-id="19175" class="ldml-sentence"&gt;Nor did &lt;span class="ldml-entity"&gt;he&lt;/span&gt; clarify why &lt;span class="ldml-entity"&gt;he&lt;/span&gt; expected the financial documents that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had provided to Gill to be admitted at the hearing without further action on his own part.&lt;/span&gt; &lt;span data-paragraph-id="18358" data-sentence-id="19333" class="ldml-sentence"&gt;To the extent that &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; was unable to meet established deadlines without the assistance of &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; find that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is not fit to practice.&lt;/span&gt; &lt;span data-paragraph-id="18358" data-sentence-id="19479" class="ldml-sentence"&gt;To the extent that &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; made no attempt to learn the rules and procedures in &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; in which his personal stakes were so high, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; likewise find that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is not fit to practice.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="19660" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="19660" data-sentence-id="19660" class="ldml-sentence"&gt;And although &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; now pledges to limit his practice to document review, forswearing any other legal involvement, Colorado lawyers’ licenses cannot be limited to cover only certain activities or restricted to select areas of law.&lt;/span&gt; &lt;span data-paragraph-id="19660" data-sentence-id="19895" class="ldml-sentence"&gt;Were &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; reinstated, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would be allowed to practice in any area of law, including areas in which his knowledge is insufficient to provide adequate &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; to his clients.&lt;/span&gt; &lt;span data-paragraph-id="19660" data-sentence-id="20074" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; thus cannot and will not entertain his request for a limited license.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="20146" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="20146" data-sentence-id="20146" class="ldml-sentence"&gt;In sum, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; find that &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; has not mustered clear and convincing evidence that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is fit to practice law.&lt;span class="ldml-pagenumber" data-id="pagenumber_20256" data-page_type="bracketed_cite" data-rep="P.3d" data-val="420" data-vol="513"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-format="title_case_lacks_specifier_italics" data-content-heading-label=" Rehabilitation" data-parsed="true" data-specifier="" data-id="heading_20256" data-value="Rehabilitation" id="heading_20256"&gt;&lt;span data-paragraph-id="20256" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="20256" data-sentence-id="20257" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;Rehabilitation&lt;/b&gt;&lt;/span&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="20271" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="20271" data-sentence-id="20272" class="ldml-sentence"&gt;Finally, the &lt;span class="ldml-entity"&gt;Hearing Board&lt;/span&gt; must consider whether &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; has been rehabilitated from his misconduct.&lt;/span&gt; &lt;span data-paragraph-id="20271" data-sentence-id="20376" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;Hearing Board&lt;/span&gt; should not grant reinstatement simply on a showing that &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; has engaged in proper conduct or refrained from further misconduct during his suspension.&lt;a href="#note-fr31" class="ldml-noteanchor" id="note-ref-fr31"&gt;31&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="20271" data-sentence-id="20551" class="ldml-sentence"&gt;Instead, in assessing &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s rehabilitation, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; consider the seriousness of his original discipline&lt;a href="#note-fr32" class="ldml-noteanchor" id="note-ref-fr32"&gt;32&lt;/a&gt; and whether &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has experienced a change in his state of mind.&lt;a href="#note-fr33" class="ldml-noteanchor" id="note-ref-fr33"&gt;33&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="20271" data-sentence-id="20719" class="ldml-sentence"&gt;In this analysis &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are guided by the leading case of &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;People&lt;/span&gt; v. Klein&lt;/i&gt; , which enumerates several criteria for evaluating rehabilitation: character; recognition of the seriousness of the misconduct; conduct since the imposition of the original discipline; candor and sincerity; recommendations of other witnesses; professional competence; present business pursuits; and community service and personal aspects of his life.&lt;a href="#note-fr34" class="ldml-noteanchor" id="note-ref-fr34"&gt;34&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="20271" data-sentence-id="21140" class="ldml-sentence"&gt;The &lt;i class="ldml-italics"&gt;Klein&lt;/i&gt; criteria provide a framework to assess the likelihood that &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; will again commit misconduct.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="21249" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="21249" data-sentence-id="21249" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; start by assessing the seriousness of &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s misconduct and whether &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has addressed the shortcomings underlying that misconduct, since discipline is necessarily predicated upon a finding of some shortcoming, whether it be a personal or professional deficit.&lt;a href="#note-fr35" class="ldml-noteanchor" id="note-ref-fr35"&gt;35&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="21249" data-sentence-id="21517" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; first consider his disciplinary record.&lt;a href="#note-fr36" class="ldml-noteanchor" id="note-ref-fr36"&gt;36&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="21249" data-sentence-id="21560" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s prior discipline demonstrates a worrisome trend of law practice and trust account mismanagement.&lt;/span&gt; &lt;span data-paragraph-id="21249" data-sentence-id="21670" class="ldml-sentence"&gt;In the &lt;span class="ldml-entity"&gt;2003&lt;/span&gt; case, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; failed to supervise nonlawyers, did not maintain sufficient trust account records, and commingled client funds with his own.&lt;/span&gt; &lt;span data-paragraph-id="21249" data-sentence-id="21816" class="ldml-sentence"&gt;In the &lt;span class="ldml-entity"&gt;2019&lt;/span&gt; matter, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; engaged in the unauthorized practice of law while administratively suspended for failing to pay his attorney registration fees from &lt;span class="ldml-entity"&gt;2015&lt;/span&gt; to &lt;span class="ldml-entity"&gt;2019&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21249" data-sentence-id="21985" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; also again commingled funds when &lt;span class="ldml-entity"&gt;he&lt;/span&gt; deposited client and third-&lt;span class="ldml-entity"&gt;party&lt;/span&gt; funds directly into his operating account rather than into a trust account as mandated by the rules.&lt;/span&gt; &lt;span data-paragraph-id="21249" data-sentence-id="22158" class="ldml-sentence"&gt;In both &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; &lt;span class="ldml-entity"&gt;he&lt;/span&gt; mismanaged his trust account, which, with appropriate education, could have been avoided.&lt;/span&gt; &lt;span data-paragraph-id="21249" data-sentence-id="22265" class="ldml-sentence"&gt;The reoccurring issue in both &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; is &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s failure to understand and follow the rules governing lawyers in Colorado.&lt;/span&gt; &lt;span data-paragraph-id="21249" data-sentence-id="22391" class="ldml-sentence"&gt;That issue also appeared in this matter, as &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; made little to no effort to understand the procedural rules for this proceeding or to comply with deadlines, deflecting &lt;span class="ldml-pagenumber" data-id="pagenumber_22566" data-page_type="bracketed_cite" data-rep="P.3d" data-val="421" data-vol="513"&gt;&lt;/span&gt; responsibility by insisting that his financial circumstances, inexperience, and inability to hire a lawyer were to blame.&lt;/span&gt; &lt;span data-paragraph-id="21249" data-sentence-id="22689" class="ldml-sentence"&gt;But as a licensed lawyer, &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; is expected to understand the rules in the proceedings in which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is involved.&lt;/span&gt; &lt;span data-paragraph-id="21249" data-sentence-id="22806" class="ldml-sentence"&gt;None of his explanations justify his failure to heed his obligations under the rules.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="22891" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="22891" data-sentence-id="22891" class="ldml-sentence"&gt;Moreover, though &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; twice mismanaged his trust account—as litigated in both of his disciplinary &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;—&lt;span class="ldml-entity"&gt;he&lt;/span&gt; presented no evidence that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has amended his trust account practices or deepened his understanding of his trust account obligations other than reactivating his unused trust account.&lt;/span&gt; &lt;span data-paragraph-id="22891" data-sentence-id="23187" class="ldml-sentence"&gt;While &lt;span class="ldml-entity"&gt;he&lt;/span&gt; characterized that action as a proactive measure that demonstrates his fitness to practice, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; perceive it only as a minimal effort to address his shortcomings in trust account management.&lt;/span&gt; &lt;span data-paragraph-id="22891" data-sentence-id="23385" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s late attempt to enroll in &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s trust account school, undertaken only weeks before the reinstatement hearing, also strikes &lt;span class="ldml-entity"&gt;us&lt;/span&gt; as a half-hearted measure to address his prior misconduct.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="23589" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="23589" data-sentence-id="23589" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; turn now to &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s other conduct since the imposition of his discipline.&lt;/span&gt; &lt;span data-paragraph-id="23589" data-sentence-id="23671" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; applaud his volunteer efforts for the Korean Presbyterian Church, but &lt;span class="ldml-entity"&gt;we&lt;/span&gt; also note that other than his own statements and Gill's brief description of Reverend Woo's email, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; lack any information about the duties &lt;span class="ldml-entity"&gt;he&lt;/span&gt; performed or the time &lt;span class="ldml-entity"&gt;he&lt;/span&gt; devoted to those tasks.&lt;/span&gt; &lt;span data-paragraph-id="23589" data-sentence-id="23939" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; received no testimony or personal recommendation from Reverend Woo to support &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s character or his claims that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has been rehabilitated from his failings in law practice management.&lt;/span&gt; &lt;span data-paragraph-id="23589" data-sentence-id="24134" class="ldml-sentence"&gt;In fact, &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; neglected to call any character witnesses to speak on his behalf at the hearing.&lt;/span&gt; &lt;span data-paragraph-id="23589" data-sentence-id="24235" class="ldml-sentence"&gt;Likewise, the nature of his website development work does not quell the concerns &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have about his ability and willingness to become familiar with and follow the rules governing lawyers.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="24421" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="24421" data-sentence-id="24421" class="ldml-sentence"&gt;In sum, though &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; expressed sincere remorse concerning his misconduct, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; does not appear to have learned how to properly manage a trust account or the importance of adhering to the rules governing lawyers, causing &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to doubt that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; recognizes the seriousness of his misconduct.&lt;/span&gt; &lt;span data-paragraph-id="24421" data-sentence-id="24710" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; was never placed on probation and thus did not reap the benefits of working with a financial monitor.&lt;/span&gt; &lt;span data-paragraph-id="24421" data-sentence-id="24815" class="ldml-sentence"&gt;Nor did &lt;span class="ldml-entity"&gt;he&lt;/span&gt; attend &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s trust account and ethics schools.&lt;/span&gt; &lt;span data-paragraph-id="24421" data-sentence-id="24880" class="ldml-sentence"&gt;His CLE work appears to have had no substantive focus and conferred little, if any, educational value in the proper management of trust accounts.&lt;/span&gt; &lt;span data-paragraph-id="24421" data-sentence-id="25026" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; did not demonstrate that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; possesses the professional competence necessary to be reinstated.&lt;/span&gt; &lt;span data-paragraph-id="24421" data-sentence-id="25140" class="ldml-sentence"&gt;Instead, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; blamed his inability to understand and follow the procedures governing his reinstatement hearing on his lack of finances to hire &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; and on his own inexperience with &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;court&lt;/span&gt; rules&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24421" data-sentence-id="25335" class="ldml-sentence"&gt;Further, &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s testimony revealed his deep misunderstanding about the nature of the personal injury matters &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had undertaken for clients.&lt;/span&gt; &lt;span data-paragraph-id="24421" data-sentence-id="25481" class="ldml-sentence"&gt;For these reasons, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are unconvinced that &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; has undergone a change in his state of mind such that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; can be assured that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; will not commit similar misconduct in the future.&lt;/span&gt; &lt;span data-paragraph-id="24421" data-sentence-id="25665" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; has failed to produce clear and convincing evidence that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has been rehabilitated.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_25789" data-content-heading-label="IV. CONCLUSION " data-parsed="true" data-ordinal_end="4" data-format="upper_case_roman_numeral" data-specifier="IV" data-confidences="very_high" data-types="conclusion" data-value="IV. CONCLUSION" id="heading_25789" data-ordinal_start="4"&gt;&lt;span data-paragraph-id="25789" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="25789" data-sentence-id="25789" class="ldml-sentence"&gt;IV.&lt;/span&gt; &lt;span data-paragraph-id="25789" data-sentence-id="25793" class="ldml-sentence"&gt;&lt;span class="ldml-underline"&gt;CONCLUSION&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="25804" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="25804" data-sentence-id="25804" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; seems to lack an understanding of his obligations under the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25804"&gt;&lt;span class="ldml-cite"&gt;Rules of Professional Conduct&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has failed during his suspension to seek any appropriate experience or education to cure these deficits.&lt;/span&gt; &lt;span data-paragraph-id="25804" data-sentence-id="26018" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has not demonstrated by clear and convincing evidence any of the three prongs that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is required to prove to gain reinstatement: &lt;span class="ldml-entity"&gt;we&lt;/span&gt; find neither that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; complied with disciplinary rules or orders, nor that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is fit to practice, nor that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has been rehabilitated from the causes of his underlying misconduct.&lt;/span&gt; &lt;span data-paragraph-id="25804" data-sentence-id="26349" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; therefore deny &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;petition for reinstatement&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-format="upper_case_roman_numeral" data-content-heading-label="V. ORDER " data-parsed="true" data-ordinal_end="5" data-specifier="V" data-id="heading_26407" data-value="V. ORDER" id="heading_26407" data-ordinal_start="5"&gt;&lt;span data-paragraph-id="26407" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="26407" data-sentence-id="26407" class="ldml-sentence"&gt;V.&lt;/span&gt; &lt;span data-paragraph-id="26407" data-sentence-id="26410" class="ldml-sentence"&gt;&lt;span class="ldml-underline"&gt;ORDER&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="26416" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="26416" data-sentence-id="26416" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-paragraph-id="26416" data-sentence-id="26419" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;Hearing Board &lt;b class="ldml-bold"&gt;DENIES&lt;/b&gt; &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;'s &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;Petition for Reinstatement&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="26416" data-sentence-id="26487" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;b class="ldml-bold"&gt;MATTHEW S. PARK&lt;/b&gt;&lt;/span&gt; , attorney registration &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26487"&gt;&lt;span class="ldml-cite"&gt;number &lt;b class="ldml-bold"&gt;31715&lt;/b&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , &lt;b class="ldml-bold"&gt;SHALL NOT&lt;/b&gt; be reinstated to the practice of law in Colorado.&lt;span class="ldml-pagenumber" data-id="pagenumber_26612" data-page_type="bracketed_cite" data-rep="P.3d" data-val="422" data-vol="513"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="26612" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="26612" data-sentence-id="26613" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-paragraph-id="26612" data-sentence-id="26616" class="ldml-sentence"&gt;Under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 251.29&lt;span class="ldml-parenthetical"&gt;(i)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; &lt;b class="ldml-bold"&gt;SHALL&lt;/b&gt; pay the costs of this proceeding.&lt;/span&gt; &lt;span data-paragraph-id="26612" data-sentence-id="26693" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; &lt;b class="ldml-bold"&gt;SHALL&lt;/b&gt; submit a statement of costs &lt;b class="ldml-bold"&gt;on or before Thursday, &lt;span class="ldml-entity"&gt;April 21, 2022&lt;/span&gt;&lt;/b&gt; .&lt;/span&gt; &lt;span data-paragraph-id="26612" data-sentence-id="26778" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; &lt;b class="ldml-bold"&gt;MUST&lt;/b&gt; file his response, if any, &lt;b class="ldml-bold"&gt;within seven days&lt;/b&gt; .&lt;/span&gt; &lt;span data-paragraph-id="26612" data-sentence-id="26841" class="ldml-sentence"&gt;The PDJ will then issue an order establishing the amount of costs to be paid or refunded and a deadline for the payment or refund.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="26971" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="26971" data-sentence-id="26971" class="ldml-sentence"&gt;3.&lt;/span&gt; &lt;span data-paragraph-id="26971" data-sentence-id="26974" class="ldml-sentence"&gt;Any posthearing motion &lt;b class="ldml-bold"&gt;MUST&lt;/b&gt; be filed with the &lt;span class="ldml-entity"&gt;Hearing Board&lt;/span&gt; &lt;b class="ldml-bold"&gt;on or before Thursday, &lt;span class="ldml-entity"&gt;April 28, 2022&lt;/span&gt;&lt;/b&gt; .&lt;/span&gt; &lt;span data-paragraph-id="26971" data-sentence-id="27074" class="ldml-sentence"&gt;Any response thereto &lt;b class="ldml-bold"&gt;MUST&lt;/b&gt; be filed &lt;b class="ldml-bold"&gt;within seven days&lt;/b&gt; .&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="27128" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="27128" data-sentence-id="27128" class="ldml-sentence"&gt;4.&lt;/span&gt; &lt;span data-paragraph-id="27128" data-sentence-id="27131" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; has the right to appeal the &lt;span class="ldml-entity"&gt;Hearing Board&lt;/span&gt;'s denial of his &lt;span class="ldml-entity"&gt;petition for reinstatement&lt;/span&gt; under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 251.27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="27249" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="27249" data-sentence-id="27249" class="ldml-sentence"&gt;5.&lt;/span&gt; &lt;span data-paragraph-id="27249" data-sentence-id="27252" class="ldml-sentence"&gt;Under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 251.29&lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; &lt;b class="ldml-bold"&gt;MAY NOT&lt;/b&gt; &lt;span class="ldml-entity"&gt;petition for reinstatement&lt;/span&gt; within two years of the date of this order.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="27367" class="ldml-paragraph "&gt;&lt;i class="ldml-italics"&gt;&lt;span data-paragraph-id="27367" data-sentence-id="27367" class="ldml-sentence"&gt;&lt;span class="ldml-signature"&gt;&lt;span class="ldml-underline"&gt;/s/ &lt;span class="ldml-entity"&gt;William R. Lucero&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;/i&gt;&lt;/p&gt;&lt;p data-paragraph-id="27389" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="27389" data-sentence-id="27389" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;WILLIAM R. LUCERO&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="27406" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="27406" data-sentence-id="27406" class="ldml-sentence"&gt;PRESIDING DISCIPLINARY JUDGE&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="27434" class="ldml-paragraph "&gt;&lt;i class="ldml-italics"&gt;&lt;span data-paragraph-id="27434" data-sentence-id="27434" class="ldml-sentence"&gt;&lt;span class="ldml-signature"&gt;&lt;span class="ldml-underline"&gt;/s/ &lt;span class="ldml-entity"&gt;Steven Meyrich&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;/i&gt;&lt;/p&gt;&lt;p data-paragraph-id="27453" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="27453" data-sentence-id="27453" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;STEVEN MEYRICH&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="27467" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="27467" data-sentence-id="27467" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;HEARING BOARD MEMBER&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="27487" class="ldml-paragraph "&gt;&lt;i class="ldml-italics"&gt;&lt;span data-paragraph-id="27487" data-sentence-id="27487" class="ldml-sentence"&gt;&lt;span class="ldml-signature"&gt;&lt;span class="ldml-underline"&gt;/s/ &lt;span class="ldml-entity"&gt;Dr. Robert Munson&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;/i&gt;&lt;/p&gt;&lt;p data-paragraph-id="27509" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="27509" data-sentence-id="27509" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;DR. ROBERT MUNSON&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-format="upper_case_lacks_specifier" data-content-heading-label="HEARING BOARD MEMBER" data-parsed="true" data-specifier="" data-id="heading_27526" data-value="HEARING BOARD MEMBER" id="heading_27526"&gt;&lt;span data-paragraph-id="27526" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="27526" data-sentence-id="27526" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;HEARING BOARD MEMBER&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/section&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27546" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr1" class="ldml-notemarker" id="note-fr1"&gt;1&lt;/a&gt; &lt;span data-paragraph-id="27546" data-sentence-id="27547" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1102"&gt;&lt;span class="ldml-cite"&gt;Ex. S1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27554" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr2" class="ldml-notemarker" id="note-fr2"&gt;2&lt;/a&gt; &lt;span data-paragraph-id="27554" data-sentence-id="27555" class="ldml-sentence"&gt;Stip.&lt;/span&gt; &lt;span data-paragraph-id="27554" data-sentence-id="27561" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27555"&gt;&lt;span class="ldml-refname"&gt;Facts&lt;/span&gt; &lt;span class="ldml-cite"&gt;¶ 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27571" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr3" class="ldml-notemarker" id="note-fr3"&gt;3&lt;/a&gt; &lt;span data-paragraph-id="27571" data-sentence-id="27572" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1952"&gt;&lt;span class="ldml-cite"&gt;Ex. S2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27579" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr4" class="ldml-notemarker" id="note-fr4"&gt;4&lt;/a&gt; &lt;span data-paragraph-id="27579" data-sentence-id="27580" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2112"&gt;&lt;span class="ldml-cite"&gt;Ex. S3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27587" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr5" class="ldml-notemarker" id="note-fr5"&gt;5&lt;/a&gt; &lt;span data-paragraph-id="27587" data-sentence-id="27588" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"Reinstatement Scheduling Order"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27588"&gt;&lt;span class="ldml-cite"&gt;§ IV.7.A&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;Dec. 15, 2021&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27646" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr6" class="ldml-notemarker" id="note-fr6"&gt;6&lt;/a&gt; &lt;span data-paragraph-id="27646" data-sentence-id="27647" class="ldml-sentence"&gt;Stip.&lt;/span&gt; &lt;span data-paragraph-id="27646" data-sentence-id="27653" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27647"&gt;&lt;span class="ldml-refname"&gt;Facts&lt;/span&gt; &lt;span class="ldml-cite"&gt;¶ 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27663" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr7" class="ldml-notemarker" id="note-fr7"&gt;7&lt;/a&gt; &lt;span data-paragraph-id="27663" data-sentence-id="27664" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3298"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 251.1&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27686" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr8" class="ldml-notemarker" id="note-fr8"&gt;8&lt;/a&gt; &lt;span data-paragraph-id="27686" data-sentence-id="27687" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3923"&gt;&lt;span class="ldml-refname"&gt;Ex. S1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27699" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr9" class="ldml-notemarker" id="note-fr9"&gt;9&lt;/a&gt; &lt;span data-paragraph-id="27699" data-sentence-id="27700" class="ldml-sentence"&gt;Stip.&lt;/span&gt; &lt;span data-paragraph-id="27699" data-sentence-id="27706" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27700"&gt;&lt;span class="ldml-refname"&gt;Facts&lt;/span&gt; &lt;span class="ldml-cite"&gt;¶ 2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27700"&gt;&lt;span class="ldml-refname"&gt;Ex. S1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27730" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr10" class="ldml-notemarker" id="note-fr10"&gt;10&lt;/a&gt; &lt;span data-paragraph-id="27730" data-sentence-id="27731" class="ldml-sentence"&gt;Stip.&lt;/span&gt; &lt;span data-paragraph-id="27730" data-sentence-id="27737" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27731"&gt;&lt;span class="ldml-refname"&gt;Facts&lt;/span&gt; &lt;span class="ldml-cite"&gt;¶ 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27747" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr11" class="ldml-notemarker" id="note-fr11"&gt;11&lt;/a&gt; &lt;span data-paragraph-id="27747" data-sentence-id="27748" class="ldml-sentence"&gt;Stip.&lt;/span&gt; &lt;span data-paragraph-id="27747" data-sentence-id="27754" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27748"&gt;&lt;span class="ldml-refname"&gt;Facts&lt;/span&gt; &lt;span class="ldml-cite"&gt;¶ 4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27748"&gt;&lt;span class="ldml-cite"&gt;Ex. S6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27772" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr12" class="ldml-notemarker" id="note-fr12"&gt;12&lt;/a&gt; &lt;span data-paragraph-id="27772" data-sentence-id="27773" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4501"&gt;&lt;span class="ldml-refname"&gt;Ex. S6&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 48-49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27789" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr13" class="ldml-notemarker" id="note-fr13"&gt;13&lt;/a&gt; &lt;span data-paragraph-id="27789" data-sentence-id="27790" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4640"&gt;&lt;span class="ldml-refname"&gt;Ex. S6&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 47&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27803" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr14" class="ldml-notemarker" id="note-fr14"&gt;14&lt;/a&gt; &lt;span data-paragraph-id="27803" data-sentence-id="27804" class="ldml-sentence"&gt;Stip.&lt;/span&gt; &lt;span data-paragraph-id="27803" data-sentence-id="27810" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27804"&gt;&lt;span class="ldml-refname"&gt;Facts&lt;/span&gt; &lt;span class="ldml-cite"&gt;¶ 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27820" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr15" class="ldml-notemarker" id="note-fr15"&gt;15&lt;/a&gt; &lt;span data-paragraph-id="27820" data-sentence-id="27821" class="ldml-sentence"&gt;Stip.&lt;/span&gt; &lt;span data-paragraph-id="27820" data-sentence-id="27827" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27821"&gt;&lt;span class="ldml-refname"&gt;Facts&lt;/span&gt; &lt;span class="ldml-cite"&gt;¶ 6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27821"&gt;&lt;span class="ldml-cite"&gt;Ex. S1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27845" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr16" class="ldml-notemarker" id="note-fr16"&gt;16&lt;/a&gt; &lt;span data-paragraph-id="27845" data-sentence-id="27846" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5255"&gt;&lt;span class="ldml-refname"&gt;Ex. S1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27859" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr17" class="ldml-notemarker" id="note-fr17"&gt;17&lt;/a&gt; &lt;span data-paragraph-id="27859" data-sentence-id="27860" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5451"&gt;&lt;span class="ldml-refname"&gt;Ex. S1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27873" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr19" class="ldml-notemarker" id="note-fr19"&gt;19&lt;/a&gt; &lt;span data-paragraph-id="27873" data-sentence-id="27874" class="ldml-sentence"&gt;Stip.&lt;/span&gt; &lt;span data-paragraph-id="27873" data-sentence-id="27880" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27874"&gt;&lt;span class="ldml-refname"&gt;Facts&lt;/span&gt; &lt;span class="ldml-cite"&gt;¶ 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27890" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr20" class="ldml-notemarker" id="note-fr20"&gt;20&lt;/a&gt; &lt;span data-paragraph-id="27890" data-sentence-id="27891" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 251.28&lt;span class="ldml-parenthetical"&gt;(d)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; &lt;i class="ldml-italics"&gt;see also&lt;/i&gt; &lt;span class="ldml-quotation quote"&gt;"Order and Notice of Suspension"&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;Oct. 27, 2020&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27970" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr21" class="ldml-notemarker" id="note-fr21"&gt;21&lt;/a&gt; &lt;span data-paragraph-id="27970" data-sentence-id="27971" class="ldml-sentence"&gt;Stip.&lt;/span&gt; &lt;span data-paragraph-id="27970" data-sentence-id="27977" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27971"&gt;&lt;span class="ldml-refname"&gt;Facts&lt;/span&gt; &lt;span class="ldml-cite"&gt;¶ 9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27971"&gt;&lt;span class="ldml-cite"&gt;Ex. S5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="27995" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr22" class="ldml-notemarker" id="note-fr22"&gt;22&lt;/a&gt; &lt;span data-paragraph-id="27995" data-sentence-id="27996" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7588"&gt;&lt;span class="ldml-cite"&gt;Ex. S1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="28003" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr23" class="ldml-notemarker" id="note-fr23"&gt;23&lt;/a&gt; &lt;span data-paragraph-id="28003" data-sentence-id="28004" class="ldml-sentence"&gt;In his response to &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s interrogatories, &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; identified the employer as &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28004"&gt;&lt;span class="ldml-refname"&gt;MM Global Services, Inc. Ex. S4&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="28129" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr24" class="ldml-notemarker" id="note-fr24"&gt;24&lt;/a&gt; &lt;span data-paragraph-id="28129" data-sentence-id="28130" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See generally&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8870"&gt;&lt;span class="ldml-cite"&gt;Ex. S7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="28151" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr25" class="ldml-notemarker" id="note-fr25"&gt;25&lt;/a&gt; &lt;span data-paragraph-id="28151" data-sentence-id="28152" class="ldml-sentence"&gt;Ex. A. &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; did not give &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; a copy of this email string before the reinstatement hearing.&lt;/span&gt; &lt;span data-paragraph-id="28151" data-sentence-id="28256" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; said that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not realize that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; needed to do so.&lt;/span&gt; &lt;span data-paragraph-id="28151" data-sentence-id="28313" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; moved for the email's admission at the hearing, and it was marked as &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;'s exhibit A.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="28416" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr26" class="ldml-notemarker" id="note-fr26"&gt;26&lt;/a&gt; &lt;span data-paragraph-id="28416" data-sentence-id="28417" class="ldml-sentence"&gt;In summer &lt;span class="ldml-entity"&gt;2006&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; was a passenger in a serious car accident that resulted in a fatality.&lt;/span&gt; &lt;span data-paragraph-id="28416" data-sentence-id="28515" class="ldml-sentence"&gt;As a result, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was hospitalized for six months and endured thirty surgeries, including a leg amputation.&lt;/span&gt; &lt;span data-paragraph-id="28416" data-sentence-id="28621" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28515"&gt;&lt;span class="ldml-refname"&gt;Ex. S1&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="28638" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr27" class="ldml-notemarker" id="note-fr27"&gt;27&lt;/a&gt; &lt;span data-paragraph-id="28638" data-sentence-id="28639" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; took &lt;span class="ldml-quotation quote"&gt;"many dozens of personal injury &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="28712" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr28" class="ldml-notemarker" id="note-fr28"&gt;28&lt;/a&gt; &lt;span data-paragraph-id="28712" data-sentence-id="28713" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12859"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 251.29&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="28732" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr29" class="ldml-notemarker" id="note-fr29"&gt;29&lt;/a&gt; &lt;span data-paragraph-id="28732" data-sentence-id="28733" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13111"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 251.29&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_28783,sentence_13111"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 208.1&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;-&lt;span class="ldml-parenthetical"&gt;(j)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;listing essential eligibility requirements for admission to practice law in Colorado&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="28869" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr30" class="ldml-notemarker" id="note-fr30"&gt;30&lt;/a&gt; &lt;span data-paragraph-id="28869" data-sentence-id="28870" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; note that &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; also attested in his responses to &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s interrogatories that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"provided free legal service for a family law matter in &lt;span class="ldml-parenthetical"&gt;[sic]&lt;/span&gt; pro bono."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="28869" data-sentence-id="29038" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28870"&gt;&lt;span class="ldml-refname"&gt;Ex. S4&lt;/span&gt; &lt;span class="ldml-cite"&gt;at 33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="29051" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr31" class="ldml-notemarker" id="note-fr31"&gt;31&lt;/a&gt; &lt;span data-paragraph-id="29051" data-sentence-id="29052" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20376"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 251.29&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_29139,sentence_20376" data-refglobal="case:inthematterofthereinstatementofrobertmcantrellno3579785p2d312,1989ok165dec26,1989"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Cantrell&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;785 P.2d 312, 313&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Okla.&lt;/span&gt; &lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[R]&lt;/span&gt;einstatement will not automatically be granted on evidence that &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;]&lt;/span&gt; has engaged in only proper conduct, even where no contrary evidence is presented."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20376" data-refglobal="case:applicationofglennjsharpeforreinstatementnos2239,2275499p2d406june7,1972"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Sharpe&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;499 P.2d 406, 409&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Okla.&lt;/span&gt; &lt;span class="ldml-date"&gt;1972&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="29360" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr32" class="ldml-notemarker" id="note-fr32"&gt;32&lt;/a&gt; &lt;span data-paragraph-id="29360" data-sentence-id="29361" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;See Lawyers’ Manual on Prof'l Conduct&lt;/i&gt; &lt;span class="ldml-parenthetical"&gt;(ABA/BNA)&lt;/span&gt; 101:3013 &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2012&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"Examination of a lawyer's rehabilitation and fitness begins with a review of the seriousness of the original offense. ..."&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="29360" data-sentence-id="29550" class="ldml-sentence"&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="29551" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr33" class="ldml-notemarker" id="note-fr33"&gt;33&lt;/a&gt; &lt;span data-paragraph-id="29551" data-sentence-id="29552" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_29584,sentence_20551" data-refglobal="case:inthematterofthereinstatementofrobertmcantrellno3579785p2d312,1989ok165dec26,1989"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Cantrell&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;785 P.2d at 314&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting with approval&lt;/span&gt; that rehabilitation &lt;span class="ldml-quotation quote"&gt;"is a &lt;span class="ldml-quotation quote"&gt;‘state of mind’&lt;/span&gt; and the law looks with favor upon rewarding with the opportunity to serve, one who has achieved &lt;span class="ldml-quotation quote"&gt;‘reformation and regeneration.’&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887837117" data-vids="887837117" class="ldml-reference" data-prop-ids="sentence_20551"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Alger Hiss&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;368 Mass. 447&lt;/span&gt;, &lt;span class="ldml-cite"&gt;333 N.E.2d 429&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1975&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="29845" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr34" class="ldml-notemarker" id="note-fr34"&gt;34&lt;/a&gt; &lt;span data-paragraph-id="29845" data-sentence-id="29846" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887364107" data-vids="887364107" class="ldml-reference" data-prop-ids="embeddedsentence_29883,sentence_20719"&gt;&lt;span class="ldml-cite"&gt;756 P.2d 1013, 1015-16&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;interpreting&lt;/span&gt; language of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20719"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 241.22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, an earlier version of the rule governing reinstatement to the bar&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29845" data-sentence-id="29993" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; note that the &lt;i class="ldml-italics"&gt;Klein&lt;/i&gt; decision relies upon an early edition of the &lt;i class="ldml-italics"&gt;Lawyers’ Manual on Professional Conduct&lt;/i&gt; &lt;span class="ldml-parenthetical"&gt;(ABA/BNA)&lt;/span&gt; 101:3005, which listed the above factors for assessing the rehabilitation of lawyers seeking reinstatement.&lt;/span&gt; &lt;span data-paragraph-id="29845" data-sentence-id="30219" class="ldml-sentence"&gt;A new online practice guide, which draws on the manual, sets forth a number of other factors to consider when evaluating a lawyer's rehabilitation: the seriousness of the original offense, conduct since being disbarred or suspended, acceptance of responsibility, remorse, how much time has elapsed, restitution for any financial injury, maintenance of requisite legal abilities, and the circumstances of the original misconduct, including the same mitigating factors that were considered the first time around.&lt;/span&gt; &lt;span data-paragraph-id="29845" data-sentence-id="30730" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;Lawyers’ &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Manual on Prof'l Conduct&lt;/i&gt; &lt;span class="ldml-parenthetical"&gt;(ABA/BNA)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-cite"&gt;101:3001 § 20.120.30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, Bloomberg Law &lt;span class="ldml-parenthetical"&gt;(database updated &lt;span class="ldml-entity"&gt;July 2020&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29845" data-sentence-id="30840" class="ldml-sentence"&gt;While some of these newly articulated factors are encompassed in our analysis, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do not explicitly rely on them as guideposts for our decision.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="30984" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr35" class="ldml-notemarker" id="note-fr35"&gt;35&lt;/a&gt; &lt;span data-paragraph-id="30984" data-sentence-id="30985" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_31050,sentence_21249" data-refglobal="case:inrejohnson,231ariz556,298p3d904,906-072013"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Johnson&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;231 Ariz. 556&lt;/span&gt;, &lt;span class="ldml-cite"&gt;298 P.3d 904, 906-07&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2013&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;approving a two-step process to show rehabilitation: first, identifying the shortcoming that caused the misconduct, and second, demonstrating that the shortcoming has been overcome&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890192748" data-vids="890192748" class="ldml-reference" data-prop-ids="embeddedsentence_31316,sentence_21249"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Tardiff v. State Bar&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;27 Cal.3d 395&lt;/span&gt;, &lt;span class="ldml-cite"&gt;165 Cal.Rptr. 829&lt;/span&gt;, &lt;span class="ldml-cite"&gt;612 P.2d 919, 923&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1980&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;considering &lt;span class="ldml-entity"&gt;a petitioner&lt;/span&gt;'s character in light of the shortcomings that resulted in the imposition of discipline&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="31429" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr36" class="ldml-notemarker" id="note-fr36"&gt;36&lt;/a&gt; &lt;span data-paragraph-id="31429" data-sentence-id="31430" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_31454,sentence_21517"&gt;&lt;span class="ldml-cite"&gt;C.R.C.P. 251.29&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"In deciding whether to grant or deny the petition, the &lt;span class="ldml-entity"&gt;Hearing Board&lt;/span&gt; shall consider the attorney's past disciplinary record."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="31429" data-sentence-id="31581" class="ldml-sentence"&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;